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   IN THE CIRCUIT COURT OF MARYLAND FOR PRINCE GEORGE'S COUNTY


Barbara West                                *,.,
1514 Chillum Road
Apartment 203                               *
Hyattsville, MD 20782                       *      Case No.
                                            *
              Plaintiff,                    *
                                            *
        vs.                                 *
                                            *
Giancarlo Bonilla                           *
628 Mississippi Avenue                      *
Silver Spring, MD 20910                     *
                                            *
Jamal Walker                                *
10501 Babbling Brook Court                  *
Upper Marlboro, MD 20772                    *
                                            *
Washington Metropolitan Area                *
Transit Authority (WMATA)                   *
600 5th Street, NW                          *
Washington, DC 20001                        *
                                            *
              Defendants.                   *
******************************************************************************

                                        COMPLAINT

NOW COMES the Plaintiff, Barbara West (hereinafter "Plaintiff'), by and through undersigned
counsel, and complains as follows:

                                       JURISDICTION

   1. That this Court has jurisdiction over this matter pursuant to the Maryland Rules of Civil
      Procedure.

                                          PARTIES

   2. That the Plaintiff, Barbara West, is a resident of Prince George's County, Maryland.

   3. That the Defendant, Jamal Walker, is a resident of Prince George's County, Maryland.



                                                                                        EXHIBIT

                                                                                  I
                                                                                  :,         I
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   4. That the Defendant, WMATA, is a quasi-governmental entity that does business in Prince
      George's County, Maryland.

   5. That the Defendant, Giancarlo Bonilla, is a resident of Montgomery County, Maryland.


                                  COUNT 1 - NEGLIGENCE

   6. That on June 6, 2015, the Plaintiff was a passenger on a WMATA bus that was driven by
      Defendant Jamal Walker and headed southbound in the 1500 block of North Capitol
      Street, NW, Washington, DC.

   7. That on the same date and at or around the same time, Defendant Giancarlo Bonilla was
      operating his vehicle and traveling in the same direction on North Capitol Street.
      Defendant Giancarlo Bonilla made a lane change in front of the WMA TA bus and the
      two vehicles collided.

   8. That, at all relevant times herein mentioned, the Defendants Walker and Bonilla owed the
      Plaintiff a duty to operate their vehicles in a safe and prudent manner, in compliance with
      the Maryland motor vehicle laws.

   9. That Defendant Walker and Defendant Bonilla each breached the duty he owed to the
      Plaintiff by failing to pay full-time attention, failing to yield the right of way, failing to
      operate his vehicle in a safe and prudent manner, or otherwise failing to obey the District
      of Columbia rules of the road, and caused the afore-mentioned collision.

   10. That, as a result of these Defendants' negligence and the collision caused therefrom, the
       Plaintiff suffered serious bodily injury, pain and economic loss.

WHEREFORE, the premises considered, the Plaintiff prays:

1. That this Court award the Plaintiff compensatory damages against Defendants Walker and
   Bonilla in the amount of$ 30,000.00, jointly and severally, with interest and costs.

2. That this Court award the Plaintiff such other and further relief as it deems necessary.



                            COUNT 2 - RESONDEAT SUPERIOR

   13. That the Plaintiff re-alleges and incorporates by reference, Paragraphs one (1) through
   ten (10) of the Complaint.

   14. That at all relevant times herein mentioned, Defendant Jamal Walker was employed by
   WMATA, he was operating WMATA's vehicle with WMATA's consent, he was pursuing
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   WMATA's business interest, and was acting within the scope of his employment when the
   accident at issue occurred.

WHEREFORE, the premises considered, the Plaintiff prays:

1. That this Court award the Plaintiff compensatory damages against Defendant WMA TA in
   the amount of$ 30,000.00, with interest and costs.

2. That this Court award the Plaintiff such other and further relief as it deems necessary.



                                         Respectfully submitted,



                                         William H. Ja son, Esquire
                                         1300 Mercantile Lane
                                         Suite 129-49
                                         Largo, MD 20774
                                         (301)364-3101 office
                                         (301)576-3678 fax



                                         JURY TRIAL

The Plaintiff demands a trial by jury.
